








		



	




NUMBER 13-08-00117-CR



COURT OF APPEALS



THIRTEENTH DISTRICT OF TEXAS



CORPUS CHRISTI - EDINBURG






IN RE ANTONIO BEJARAN, JR.






On Petition for Writ of Mandamus.






MEMORANDUM OPINION



Before Justices Yañez, Rodriguez, and Vela


Per Curiam Memorandum Opinion (1)



	Relator, Antonio Bejaran, Jr., filed a petition for writ of mandamus in the above
cause on March 3, 2008.  This petition for writ of mandamus was originally filed in this
Court as a criminal, rather than civil, cause.  Based on recent analysis from the Texas
Court of Criminal Appeals, however, we will transfer this matter to our civil cause number
13-08-00630-CV, and will consider it therein.  See In re Johnson, No. AP-75,898, slip. op.
¶ 22 (Tex. Crim. App. Oct. 29, 2008) (orig. proceeding), available at
http://www.cca.courts.state.tx.us/OPINIONS/HTMLOPINIONINFO.ASP?OPINIONID=17534.  Therefore, this criminal cause is hereby DISMISSED.  


								PER CURIAM


Do not publish.  See Tex. R. App. P. 47.2(b).


Memorandum Opinion delivered and filed

this 12th day of November, 2008.

				


								

1.  See Tex. R. App. P. 52.8(d) ("When denying relief, the court may hand down an opinion but is not
required to do so."); Tex. R. App. P. 47.4 (distinguishing opinions and memorandum opinions).

